  Case: 1:19-cr-00567 Document #: 431 Filed: 03/09/23 Page 1 of 1 PageID #:12845




                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


 UNITED STATES OF AMERICA,
                Appellee,                                Case No. 1:19 CR 00567
        v.                                               The Honorable Harry D.
                                                         Leinenweber, Judge Presiding
 ROBERT SYLVESTER KELLY,
                Appellant.


                                   NOTICE OF APPEAL

       ROBERT SYLVESTER KELLY appeals to the United States Court of Appeals for the
Seventh Circuit from the District Court’s final judgment entered in this action on March 7, 2023.



Dated: March 9, 2023                                        Respectfully Submitted,
                                                            /s/ Jennifer Bonjean
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